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EXHIBIT H
MAR 15 2005

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ATTORNEYS FOR DEFENDANTS PFIZER INC. AND WARNER LAMBERT COMPANY

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

ASSURANT HEALTH, INC., et al, Civil Action: 2:05-cv-0095

Plainuffs, : Hon. Joe! A. Pisano, U.S.D.J.
: Hon. Madeline C. Arleo, U.5.MJ.
v.
: ORDER FURTHER EXTENDING
PFIZER TNC., et al. : TIME FOR ALI. DEFENDANTS
: TO RESPOND TO THE COM-
Defendants. : PLAINT PENDING MDL TRANSFER

This matter having come before the Court for a telephone conference on March 14, 2005
at 4:00 pum, on Defendants’ request for additional time to respond to the complaint, counsel for
Plaintiffs and counsel for each defendant being present on the call; and

IT APPEARING THAT Defendants’ response to the Complaint in this Court would

otherwise be due on March 17, 2005; and
IT FURTHER APPEARING THAT on February 8, 2005 a Conditional Transfer Order

was entered by the Judicial Panel on Multidistrict Litigation in In re Neurontin Marketing and

Sales Practices Litigation, MDL No. 1629 transferring this action to the United States District

Court for the District of Massachusetts (the “MDL Court”), that Plaintiffs have advised the Court

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py letler that they are not opposing such transfer, but that the formal transfer has nol yct

occurred; and. for good e shown;

IT IS ON THIS “Es of EAM 2005 ORDERED that

Defendants shall have until the earlier of ( 5 April 15, 2005 or (b) ten (10) days afler transfer of

(his action to the MDL Court to serve a response (by way of answer, motion, objection or other

VAAL

response) to Plaintiffs’ Complaint.

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